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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                                 Plaintiff,          )      Case No. MJ10-450
                                                       )
10                          v.                         )      DETENTION ORDER
                                                       )
11 JUAN J. LOPEZ-MORALES,                              )
                                                       )
12                                 Defendant.          )

13 Offense charged:

14          Fraudulent documents.

15 Date of Detention Hearing: October 26, 2010.

16       The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which the defendant can meet will reasonably

19 assure the appearance of the defendant as required and the safety of any other person and the

20 community.

21             FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22       (1)        Defendant has been charged by complaint with illegal reentry after deportation.

23 He is not a citizen of the United States. The Court received no information about his personal



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 1 history, residence, family ties, employment history, or health.

 2       (2)        Because defendant is not a citizen, an immigration and customs detainer has been

 3 lodged against him. In view of these circumstances, the defendant through his attorney

 4 stipulated to detention.

 5       It is therefore ORDERED:

 6       (1)        Defendant shall be detained pending trial and committed to the custody of the

 7 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8 from persons awaiting or serving sentences, or being held in custody pending appeal;

 9       (2)        Defendant shall be afforded reasonable opportunity for private consultation with

10 counsel;

11       (3)        On order of a court of the United States or on request of an attorney for the

12 Government, the person in charge of the correctional facility in which Defendant is confined

13 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

14 connection with a court proceeding; and

15       (4)        The clerk shall direct copies of this order to counsel for the United States, to

16 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

17 Officer.

18       DATED this 26th day of October, 2010.

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22
                                                           A
                                                           BRIAN A. TSUCHIDA
                                                           United States Magistrate Judge
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     DETENTION ORDER - 2
